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                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF DELAWARE

   LIQWD, INC. and OLAPLEX LLC,                )
                                               )
                        Plaintiffs,            )
                                               )
                  v.                           )   C. A. No. 17-14 (JFB) (SRF)
                                               )
   L’ORÉAL USA, INC., L’ORÉAL USA              )
   PRODUCTS, INC, L’ORÉAL USA S/D,             )   REDACTED -- PUBLIC VERSION
   INC., and REDKEN 5TH AVENUE NYC,            )
   L.L.C.,                                     )   Original Filing Date: September 17, 2019
                                               )   Redacted Filing Date: September 25, 2019
                        Defendants.            )



                          DECLARATION OF JOHN W. SHAW

            I, John W. Shaw, declare and state as follows:

            1.    I am a member of the bars of the Supreme Court of Delaware, the

   Supreme Court of Pennsylvania, the Third Circuit Court of Appeals, the Federal

   Circuit Court of Appeals, the United States District Court for the District of

   Delaware, the United States District Court for the Eastern District of Pennsylvania,

   and the United States Patent & Trademark Office. I was admitted to the Delaware

   Bar in 1995.

            2.    I am a 1994 magna cum laude graduate of the University of Pittsburgh

   School of Law, and a 1989 graduate of The Pennsylvania State University with

   Honors and High Distinction. I served as a law clerk for the Honorable Murray M.




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   Schwartz, Senior Judge, United States District Court for the District of Delaware,

   in 1994-95.

            3.   I worked at the law firm of Young Conaway Stargatt & Taylor, LLP

   as an associate from 1995 to 2001 and as a partner from 2002 to 2011. I was a

   founding partner of Shaw Keller LLP in 2011.

            4.   Through 2009 my practice consisted primarily of commercial and

   patent litigation. From 2009 to present, the majority of my practice has consisted

   of patent litigation.

            5.   I have tried cases in the United States District Court for the District of

   Delaware, the United States District Court for the Northern District of California,

   the United States International Trade Commission, and the Delaware Court of

   Chancery. I also have appeared on behalf of clients in litigations pending in the

   above-listed courts, along with the United States District Court for the Eastern

   District of Pennsylvania, the United States District Court for the Western District

   of Pennsylvania, the United States District Court for the Middle District of Florida,

   and the United States District Court for the Southern District of Florida.

            6.   I received the Caleb R. Layton, III Service Award from the United

   States District Court for the District of Delaware and the 2005 H. James Conaway

   Pro Bono Award from Young Conaway Stargatt & Taylor, LLP. I have received




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   recognition from various third-party sources, including an AV rating from

   Martindale and a Band 1 rating in Intellectual Property from Chambers USA. 1

            7.       I am a past Vice President for the Third Circuit, Federal Bar

   Association, and previously served as the President of the Delaware Chapter of the

   Federal Bar Association.

            8.       In my practice I serve as both lead (or primary) counsel, as co-

   counsel, and as Delaware counsel. Through this work, I am familiar with the tasks

   normally and regularly performed as lead trial counsel and with the tasks normally

   and regularly performed as Delaware counsel.

            9.       I review litigation tasks and client billing as part of my normal and

   regular practice and have done so for my clients since at least 2002.

            10.      My regular and customary hourly rate is $775 per hour. I have

   employed the services of a paralegal and a law clerk to locate additional data from

   the public record to supplement my analysis and opinions.

            11.      Based on my experience, I have been requested to evaluate three

   questions and to provide analysis and opinions in response:

                  a. Whether the hourly rates charged by national counsel Quinn Emanuel

                     Urquhart & Sullivan, LLP (“Quinn”) and Diamond McCarthy LLP




   1
       https://chambers.com/lawyer/john-shaw-usa-5:194005.
   {00721068}                                 3
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                     (“Diamond McCarthy”) in this litigation are reasonable and within the

                     range of rates charged by national counsel for work on intellectual

                     property and/or complex litigation in the District of Delaware from

                     2017 to 2019?

                  b. Whether the hourly rates charged by Delaware counsel, Morris

                     Nichols Arsht & Tunnell LLP (“Morris Nichols”), in this litigation are

                     reasonable and consistent with rates for Delaware counsel?

                  c. Whether the volume of work performed by national and Delaware

                     counsel was reasonable?


                  Question 1 – Whether the hourly rates charged by national
                    counsel Quinn Emanuel Urquhart & Sullivan, LLP and
                   Diamond McCarthy LLP in this litigation are reasonable
                   and within the range of rates charged by national counsel
                  for work on intellectual property and/or complex litigation
                        in the District of Delaware from 2017 to 2019?
            12.      I have reviewed the Declaration of Joseph M. Paunovich, which

   details the billing rates and backgrounds of the Quinn and Diamond McCarthy

   professionals who worked on this litigation.

            13.      I understand that the undiscounted hourly rates charged by Quinn and

   Diamond McCarthy in this litigation are consistent with the rates paid by other

   Quinn and Diamond McCarthy clients, regardless of the litigation forum.




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            14.   To evaluate the reasonableness of the Quinn and Diamond McCarthy

   billing rates, I considered data from several sources. First, I evaluated the

   American Intellectual Property Law Association’s “2019 Report of the Economic

   Survey” (“2019 Economic Survey”). The 2019 Economic Survey reports various

   demographic and “economic aspects of intellectual property law practice,

   including individual billing rates and typical charges for representative IP law

   services.” 2019 Economic Survey at 1. The survey participants are self-selected in

   response to an email invitation. Id. The 2019 Economic Survey reports that

   AIPLA received 941 responses and that many respondents did not answer all

   questions. Id.

            15.   Most of the Quinn attorneys who participated in this litigation are

   located within the Los Angeles, New York, Silicon Valley, San Francisco,

   Washington DC, and Boston reporting regions. The 2019 Economic Survey (page

   I-29) reports partner billing rates for these regions as follows:




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                                         *       *   *




            16.   The 2019 Economic Survey combines billing rates for patent

   prosecution and patent litigation professionals, treating these different areas of

   work in the field of patent law as the same for purposes of data aggregation. As

   reported for partners on page I-26:




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            17.   This table indicates that the survey respondents skew heavily toward

   patent prosecution (identified in the table as “IP prosecution work”), which in my

   experience carries a lower billable rate than patent litigation work. Further, it bears

   noting that the 2019 Economic Survey, while reporting billable rates by region,

   does not break out within regions partner experience levels, litigation versus IP

   prosecution work, types of matters handled, litigation experience, or other factors

   that impact actual billing rates. Thus, while the survey results provide useful

   benchmarks for assessing the reasonableness of hourly rates in a complex patent

   litigation, the survey alone does not answer the question.

            18.   The 2019 Economic Survey (page I-42) reports partner-track (e.g.,

   associate) billing rates as follows:


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                                       *       *      *




            19.   The 2019 Economic Survey reports that the partner-track respondents

   were roughly 50% or more focused on IP prosecution work, as compared to patent

   litigation work. The table on page I-38 reports:




            20.   Because the 2019 Economic Survey results, though instructive, do not

   focus on the form of work at issue in this litigation—complex patent litigation and




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   trade secret litigation—I reviewed additional data sources to supplement my

   knowledge of reasonable billing rates for such work.

            21.   Specifically, I evaluated fee applications in a United States

   Bankruptcy Court filed by two national law firms with similarly strong reputations

   and skill in the industry as Quinn. I reviewed these filings because I understand

   that, under the Bankruptcy Code, the reasonableness of fees paid in bankruptcy

   proceedings is measured in part by whether the rates are comparable to the hourly

   rates charged by comparably skilled practitioners in analogous non-bankruptcy

   fields such as intellectual property and complex corporate and commercial

   litigation matters, among other practice areas. I reviewed two recent fee

   applications filed by Paul Hastings, LLP because Paul Hastings represents the

   L’Oréal defendants in this litigation. I also reviewed a recent Kirkland & Ellis fee

   application because Kirkland & Ellis has a similar reputation to Quinn for

   intellectual property and patent litigation.

            22.   My review of the fee applications described in the previous paragraph

   showed the following:




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                                          Blended Non-        Blended Non-        Blended Non-
       Law Firm & Time Period              Bankruptcy          Bankruptcy          Bankruptcy
                                           Partner Rate       Associate Rate      Paralegal Rate

     Paul Hastings LLP (February
                                              $1,106                $667            not reported
     1, 2018-January 31, 2019) 2

     Paul Hastings LLP (rates
                                              $1,100 -
     described as “current” as of                             $605 - $1,040         $240 - $495
                                               $1,525
     August 26, 2019) 3

     Kirkland & Ellis, LLP (May
                                             $1,107.68            $710.97            $361.16 5
     1, 2017-April 30, 2018) 4

           23.    The data from these bankruptcy petitions is consistent with billable

 rates reported from other sources. For example, the court in Regeneron

 Pharmaceuticals, Inc. v. Merus N.V., 2018 WL 3425013, at *4-5 (S.D.N.Y. June



 2
  The Financial Oversight & Management Board for Puerto, Case No. 17-03283 (LTS), Doc.
 5822, filed 03/18/19 (United States Bankruptcy Court for the District of Puerto Rico), Exhibit A.
 The blended rates are “for Paul Hastings timekeepers in the New York office who billed to
 nonbankruptcy matters.” This filing involved the Puerto Rico Oversight, Management and
 Economic Stability Act of 2016 “PROMESA”. According to the Paul Hastings fee application,
 under PROMESA the reasonableness of fees is evaluated in part “based on the customary
 compensation charged by comparably skilled practitioners in comparable nonbankruptcy cases in
 a competitive national legal market.” Id. ¶28. The partner rates billed in this fee application
 ranged from $1,050 to $1,500 per hour. Id., Exh. B.
 3
  In re: Interlogic Outsourcing, Inc., et al., Case No. 19-31445-hcd, Doc. 176, filed 08/26/19
 (United States Bankruptcy Court for the Northern District of Indiana), ¶13; see also id. ¶15
 (“The Debtors submit that Paul Hastings’ hourly rates are reasonable, comparable to Paul
 Hastings’ hourly rates for non-bankruptcy engagements, and within the range of rates charged by
 comparably skilled professionals.”).
 4
   In re: Charming Charlie Holdings Inc., Case No. 17-12906-CSS, Doc. 708, filed 06/17/18
 (United States Bankruptcy Court for the District of Delaware), Exhibit D. The blended rates
 listed for Kirkland & Ellis are “all K&E domestic timekeepers (including both professionals and
 paraprofessionals) who billed to non-bankruptcy matters.”
 5
     Exhibit D to the Charming Charlie filing also reports a Junior Paralegal Rate of $209.62.

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 25, 2018), noted hourly rates for multiple national firms based on a billing rate

 survey of AmLaw 50 law firms with intellectual property practices. (The decision

 and supporting survey material found on the public docket are appended as Exhibit

 1). The rates listed for national law firms in the Regeneron materials are consistent

 with the rates for Quinn and Diamond McCarthy at issue in this case.

          24.      The most active Quinn attorneys in this litigation, as identified in the

 Paunovich Declaration according to the number of hours billed, charged rates

 ranging from                           . Paunovich Declaration, ¶7. These rates reflect



              Id. Further, from a review of Appendix A to the Paunovich Declaration,

 other Quinn attorneys who worked on the litigation would have




          25.      These rates are consistent with, if not lower than, the market rates for

 comparable attorneys and are reasonable in light of prevailing market rates for

 comparable work.

          26.      The undiscounted Quinn partner and associate rates fall within the

 same range as the reported blended rates from non-bankruptcy practitioners from

 Paul Hastings and Kirkland & Ellis. The discounted Quinn partner and associate




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 rates from this litigation are lower than the reported rates from the comparable

 firms.

          27.   With regard to the 2019 Economic Survey, the Quinn partner and

 associate rates fall generally within the third quartile and/or 90th percentile for the

 relevant regions, to the extent the survey contains sufficient data to report results. I

 note that the reported rates from the 2019 Economic Survey are skewed in favor of

 non-litigation intellectual property practices. It is my further understanding that

 Quinn is widely known as a leading patent litigation and trade secret litigation

 firm. For example, Quinn’s intellectual property group was named “Intellectual

 Property Group of the Year” for 2018 by Law360, a well-regarded industry

 publication. 6 Similarly, BTI Consulting’s 2019 analysis of the legal industry

 recognized as Quinn one of the “Fearsome Foursome” law firms (along with

 Kirkland & Ellis). 7




 6
   See “IP Group of the Year: Quinn Emanuel,” Law360.com, available at
 https://www.law360.com/articles/1004210/ip-group-of-the-year-quinn-emanuel; see also Quinn
 Emanuel Press Release, available at https://www.quinnemanuel.com/the-firm/news-
 events/award-may-2018-quinn-emanuel-awarded-law360-s-practice-group-of-the-year-in-six-
 practice-areas/#page=0&byNewsType=1748.
 7
   See “37 Law Firms Most Feared in Litigation,” BTI Consulting Group, available at
 https://www.bticonsulting.com/themadclientist/37-law-firms-most-feared-in-litigation.
 {00721068}                              12
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          28.     Co-national counsel, Diamond McCarthy, attorneys charged rates

 ranging from           per hour for partner work 8 and                per hour for associates.

 Paunovich Declaration, ¶15.

          29.     These rates are consistent with and lower than the market rates for

 comparable attorneys and thus are reasonable in light of prevailing market rates for

 comparable work, whether based on the reported non-bankruptcy rates or the rates

 described in the 2019 Economic Survey.

          30.     Based on the foregoing, it is my opinion that the rates for Quinn and

 Diamond McCarthy in this litigation are reasonable and within the range of rates

 charged by national counsel for work on intellectual property or complex litigation

 from 2017 to 2019, including in Delaware.

               Question 2 – Whether the hourly rates charged by Delaware
              counsel, Morris Nichols Arsht & Tunnell LLP, in this litigation
              are reasonable and consistent with rates for Delaware counsel?
          31.     As stated, I have reviewed the Declaration of Joseph M. Paunovich in

 preparing this analysis. That declaration details the billing rates and backgrounds

 of the Morris Nichols professionals who worked on this litigation.



 8
    I understand that one Diamond McCarthy partner worked on this matter and that his primary
 role was as lead counsel in concurrent PTAB proceedings. I further note that Diamond
 McCarthy’s intellectual property practice group is smaller than Quinn’s intellectual property
 practice group. Compare https://www.diamondmccarthy.com/our_practice/11-intellectual-
 property with https://www.quinnemanuel.com/practice-areas/intellectual-property-litigation/. It
 is not unusual in my experience for a client to retain more than one national counsel firm as the
 client necessary and appropriate to address the needs of any particular case.
 {00721068}                                  13
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          32.   I understand that the hourly rates charged by Morris Nichols in this

 litigation are consistent with the rates paid by Morris Nichols clients in lead and

 Delaware counsel matters, regardless of the forum of the litigation. I further

 understand that Morris Nichols charges the same rates regardless of whether it is

 working on a litigation as primary (or lead) counsel, as Delaware counsel, or as co-

 counsel (e.g., performing litigation tasks beyond those required by the roles of

 Delaware counsel as specified by the District of Delaware Local Rules).

          33.   To evaluate the reasonableness of the Morris Nichols billing rates, I

 considered data from several sources. First, as with the Quinn and Diamond

 McCarthy rates, I evaluated the 2019 Economic Survey. Delaware falls within the

 study location “Other East”, which includes practitioners from Maine, New

 Hampshire, Vermont, Massachusetts, Rhode Island, Connecticut, New York, New

 Jersey, Pennsylvania, Maryland, Virginia, and West Virginia, in addition to

 Delaware. Because the patent litigation practice in many of these states bears little

 semblance to practice in this district, as a practitioner I also look to comparable

 data from Philadelphia. The rates reported for these regions are reproduced above.

          34.   Second, I evaluated fee applications filed by Morris Nichols and other

 Delaware law firms in the United States Bankruptcy Court for the District of

 Delaware. These fee petitions showed the following:




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                                          Blended Non-        Blended Non-        Blended Non-
       Law Firm & Time Period              Bankruptcy          Bankruptcy          Bankruptcy
                                           Partner Rate       Associate Rate      Paralegal Rate

     Richards Layton & Finger
                                             $757.76              $401.67             $239.81
     LLP (calendar year 2018) 9

     Richards Layton & Finger
                                             $699.22              $370.99             $222.16
     LLP (calendar year 2016) 10

     Young Conaway Stargatt &
     Taylor LLP (calendar year                 $807                 $406                $212
     2017) 11

     Morris Nichols Arsht &
     Tunnel LLP (May 1, 2018 to              $804.86              $478.61             $279.61
     May 1, 2019) 12




 9
  In re: Imerys Talc America, Inc., Case 19-10289 (LSS), Doc. 821, filed 07/15/19, Exhibit E.
 The identified 2019 rates for bankruptcy partners (identified as “Directors”) in this fee
 application ranged from $975 to $700 per hour. Exh. B.
 10
   In re: Gulfmark Offshore, Inc., Case 17-11125 (KG), Doc. 287, filed 09/14/17, Exhibit D. The
 identified rates for bankruptcy partners (identified as “Directors”) in this fee application were
 $900 and $875 per hour.
 11
    In re: Mach Gen GP, LLC, Case 18-11369-MFW, Doc. 13, filed 10/15/18, Exhibit D. This fee
 application states that it views the services performed by its bankruptcy and intellectual property
 litigation attorneys as being comparable:
              Young Conaway’s blended hourly rates for attorneys and
              paraprofessionals in the Corporate Counseling and Litigation, Business
              Planning and Tax, and Intellectual Property Litigation sections of the Firm
              for the prior calendar year were as set forth below. Young Conaway
              believes that the services performed by those three sections of the Firm are
              comparable to the services performed in the Bankruptcy and Corporate
              Restructuring section.
 12
   In re: Orexigen Therapeutics, Inc., Case No. 18-10518 (JTD), Doc. 1151, filed 07/19/19,
 Exhibit C. The rates for bankruptcy partners in this fee application were $1,100 and $700 per
 hour. Doc. 1151 at 3. The blended non-bankruptcy rates were determined from a ratio of the
 total dollar amount billed divided by the total hours billed. Exh. C, n.2.

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                                       Blended Non-       Blended Non-        Blended Non-
      Law Firm & Time Period            Bankruptcy         Bankruptcy          Bankruptcy
                                        Partner Rate      Associate Rate      Paralegal Rate

  Morris Nichols Arsht &
  Tunnel LLP (October 1, 2017             $779.69             $464.63             $272.22
  to October 31, 2018) 13

          35.   I understand that these average hourly rates are “blended” rates for all

 timekeepers with a particular title, regardless of experience.

          36.   These billing rates are consistent with the market rates for comparable

 attorneys and are reasonable in light of prevailing market rates for comparable

 work.

          37.   With regard to the reported blended rates from non-bankruptcy

 Delaware-based practitioners, the blended highest Morris Nichols partner rates, as

 reported in the Paunovich Declaration, ¶10, fall within the reported ranges. The

 blended highest Morris Nichols partner rates also fall within the upper quartile of

 Philadelphia practitioners. The rates are above the reported ranges for the “Other

 East” category. I would expect this to be the case based on the geographic regions

 included in the “Other East” category, the low number of responding practitioners

 for that category, and the general mix of litigation to non-litigation practice for all



 13
   In re: Veneco, LLC, Case No. 17-10828-KG, Doc. 1048, filed 10/26/18, Exhibit A. The rates
 for bankruptcy partners in this fee application ranged from $1,050 to $650 per hour. Doc. 1048
 at 3. The blended non-bankruptcy rates were determined from a ratio of the total dollar amount
 billed divided by the total hours billed. Exh. A, n.2.

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 reported compensation levels. The highest Morris Nichols partner rate falls within

 the range of the highest comparable practice rates reported to the bankruptcy court,

 commensurate with that partner’s experience as lead trial counsel and national

 reputation.

          38.   The highest reported Morris Nichols associate rate modestly exceeded

 the blended average associate rates reported for non-bankruptcy Delaware-based

 practitioners and in the 2019 Economic Survey. I note that the particular Morris

 Nichols associate is more senior than an average of all associates and is expected,

 therefore, to bill at a higher rate than the blended average. This associate rate is

 also lower than the associate rates reported from the national firms as described

 above. I also noted this associate’s rate is within            of the 2019 calendar year

 billing rate of one of defendants’ Delaware counsel associate attorneys of record. 14

          39.   Based on the foregoing, it is my opinion that the rates for Morris

 Nichols in this litigation are reasonable and within the range of rates charged by

 Delaware counsel for work on intellectual property and complex litigation from

 2017 to 2019.




 14
  In re: Imerys Talc America, Inc., Case 19-10289 (LSS), Doc. 821, filed 07/15/19, Exhibit B.
 This associate has one year more experience than the Morris Nichols associate.
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                Question 3 – Whether the volume of work performed by
                   national and Delaware counsel was reasonable?

          40.   To evaluate this question I took several steps. First, I noted that the

 litigation is between competitors, which is often more contentious and harder

 fought than other types of litigation.

          41.   Next, I reviewed the docket. As of September 13, 2019, there were

 1,088 entries on the docket, along with a separate miscellaneous action. I counted

 approximately 20 separate substantive motions, along with six motions for

 summary judgment and nine motions to exclude expert testimony. I also am aware

 from the docket that this case involved an interlocutory appeal to the Federal

 Circuit following the Court’s order on plaintiffs’ original motion for preliminary

 injunction, that this appeal resulted in remand to this Court for further proceedings,

 and that the Court ultimately entered an Order granting a preliminary injunction.

 My observations are consistent with the description of the litigation found in the

 Paunovich Declaration, ¶4.

          42.   I understand that counsel for defendants took 20 and defended 33

 depositions of fact witnesses and took 12 and defended 10 depositions of expert

 witnesses. I also understand that the parties collectively produced approximately

 187,000 pages of documents. See Paunovich Declaration ¶4. I further identified

 on the docket approximately seven discovery disputes, one substantive redaction



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 dispute, and multiple separate objections to Reports and Recommendations issued

 by Magistrate Judge Fallon. See generally Paunovich Declaration ¶4.

          43.   According to the docket and the trial transcripts, the trial lasted one

 week (6 days, including jury deliberations), with each side receiving approximately

 11 hours to present its case. In closing arguments the plaintiff asked for $33

 million in compensatory damages for trade secret theft, plus a finding of

 willfulness, and up to $24.96 million in damages for patent infringement, plus a

 finding of willfulness. This is in addition to plaintiffs’ request for injunctive relief,

 which was renewed after the jury’s verdict. I further understand from my review

 of the docket that defendants filed a set of counterclaims in January 2019 that were

 the subject of a motion to dismiss, a motion to bifurcate, expert discovery, and

 ultimately summary judgment. Defendants’ counterclaims were not tried to the

 jury.

          44.   The volume of activity reported on the docket and in the Paunovich

 Declaration exceeds the norm in the District of Delaware for matters in which I

 have been involved, whether measured by the number of docket entries or the

 number of motions and other disputes. Although every litigation is different, I note

 that matters brought to trial, with more at stake, often have one-half this number of

 docket entries.




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          45.   I also reviewed the 2019 Economic Survey for national information

 on patent and trade secret litigation expenses. When $25 million or more is at

 issue, page I-145 15 reports a national average total cost through appeal of $9

 million in both the third quartile and the 90th percentile for infringement actions.

 Insufficient data (“ISD”) is reported for the “Other East” region, including

 Delaware. The report does not identify or differentiate the reported fees based on

 the work location of trial counsel. For the Los Angeles region, the 2019 Economic

 Survey reports a third quartile cost of $9 million and a 90th percentile cost of $11.4

 million. The 2019 Economic Survey at page I-177 further reports that 67.6% of

 respondents believed there was a “strong correlation between the amount at risk in

 a patent infringement action and the overall attorney hours required to litigate the

 action.”

          46.   For trade secret litigation where greater than $25 million is at stake,

 the 2019 Economic Survey reports on page I-220 a median, third quartile, and 90th

 percentile cost of $7.5 million to bring a matter to trial and through the appellate

 process. The 2019 Economic Survey at page I-222 further reports that 80% of

 respondents believed there was a “strong correlation between the amount at risk in




 15
   These materials cited in this paragraph and in paragraph 46 are appended as Exhibit 2 to this
 declaration because the tables are too large to reproduce within the text.
 {00721068}                                 20
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 a trade secret misappropriation action and the overall attorney hours required to

 litigate the action.”

          47.   In the aggregate, the cost to litigate a combined patent litigation and

 trade secret litigation matter to trial and through the appellate process may exceed

 $16.5 - $18.9 million according to the 2019 Economic Survey, assuming no

 overlap in the two subjects. Given that this litigation also involved a breach of

 contract claim brought by plaintiffs and seven other claims brought by defendants,

 I would also expect the cost to litigate this matter could exceed this combined

 aggregate cost.

          48.   I understand the total requested attorneys’ fees and expenses and

 expenses for this litigation (including expert costs that I understand are

 compensable pursuant to a clause in a Non-Disclosure Agreement at issue in the

 case) was                     Paunovich Declaration ¶24. I understand that those

 fees and expenses do not include a significant portion of the work performed by

 plaintiffs’ counsel related to the litigation, including for example work related to

 PTAB proceedings and related appeals, an earlier action filed against L’Oréal USA

 and later (now pending) action filed against L’Oréal SA in the United States

 District Court for the Central District of California, the dismissal of L’Oréal S.A.,

 alternative dispute resolution, ongoing efforts related to yet-to-concluded appeals,




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 and other ministerial tasks. Id., ¶8. This further demonstrates the reasonableness

 of plaintiffs’ attorneys’ fees request in my opinion.

          49.   I further understand that plaintiffs paid the invoices from the three law

 firms as presented, including the fees for which plaintiffs are not seeking

 reimbursement. Paunovich Declaration, ¶8.

          50.   In light of the quantity of activity in the litigation, the amounts at

 stake, the nature of competitor disputes, and the client’s willingness to pay, the

 requested attorneys’ fees and expenses are reasonable. As a rough measure, the

 requested attorneys’ fees and expenses are roughly equivalent to the national

 average for large scale patent litigation plus approximately          of the average fees

 for large scale trade secret litigation, as reported in the 2019 Economic Survey for

 the third quartile. Further, the numbers reported in the 2019 Economic Survey are

 based on average litigation levels, while it appears that in this case the amount of

 litigation activity exceeded average levels.

          I declare under penalty of perjury under the laws of the United States of

 America that foregoing is true and correct.



                                                  ______________________________
                                                  John W. Shaw, Esquire (No. 3362)

 Executed on September 17, 2019



 {00721068}                               22
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                         EXHIBIT 1
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Regeneron Pharmaceuticals, Inc. v. Merus N.V., Not Reported in Fed. Supp. (2018)


                                                           Fleming, United States Attorney's Office, New
                                                           York, NY, for Defendant.
     KeyCite Blue Flag – Appeal Notification
Appeal Filed by REGENERON PHARMACEUTICALS v. MERUS N.V.,
Fed.Cir., July 25, 2018
             2018 WL 3425013
                                                                          OPINION & ORDER
          Only the Westlaw citation
           is currently available.                         KATHERINE B. FORREST, United States
           United States District                          District Judge
           Court, S.D. New York.
                                                            *1 Pending before the Court is defendant
  REGENERON PHARMACEUTICALS,                               Merus, N.V.’s (“Merus”) motion for an
         INC., Plaintiff,                                  award of attorneys' fees and costs from
               v.                                          plaintiff Regeneron Pharmaceuticals, Inc.
      MERUS N.V., Defendant.                               (“Regeneron”). (ECF No. 471.) By a previous
                                                           Opinion & Order, this Court has already
                 14-cv-1650 (KBF)
                                                           determined that this case is “exceptional” under
                         |
                Signed 06/25/2018                             Octane Fitness, LLC v. ICON Health &
                                                           Fitness, Inc., 134 S. Ct. 1749, 1756 (2014);
Attorneys and Law Firms                                    accordingly, it granted Merus’s motion for
                                                           attorney fees, expert fees, and costs. (ECF No.
Brendan Mathew O'Malley, Christopher P.                    468.)
Borello, Donald Joseph Curry, Joshua Daniel
Calabro, Michael Enzo Furrow, Robert                       This Opinion takes up the narrower question
Louis Baechtold, Robert Seth Schwartz,                     of the amount Merus should be awarded. For
Scott Kenneth Reed, Susanne Lynn Flanders,                 the reasons stated below, Merus’s motion for
Fitzpatrick, Cella, Harper & Scinto, Charles               $8,332,453.46 in attorneys' fees, $465,390.34
Anthony Michael, Susan E. Brune, Brune Law                 in expert fees, and $1,717,100.69 in litigation
P.C., New York, NY, Nathan Nobu Lowenstein,                expenses and costs, along with interest, is
Goldberg, Lowenstein & Weatherwax LLP, Los
                                                           GRANTED. 1
Angeles, CA, for Plaintiff.

Patricia Ann Carson, Aaron Dennis Resetarits,
                                                              I. BACKGROUND & PROCEDURAL
David Nelson Draper, Jeanna Marie Wacker,
                                                              HISTORY
Leora Ben-Ami, Peter Brian Silverman,
                                                           The Court incorporates by reference its
Saunak Kirti Desai, James Henry McConnell,
                                                           Opinion & Order of March 25, 2018. (ECF No.
Kirkland & Ellis LLP, Charles Anthony
                                                           468.) Herein, the Court describes only a general
Michael, Brune Law P.C., Thomas Francis
                                                           procedural history and any additional facts that
                                                           are particularly relevant to the instant motion.


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                                                           864 F.3d 1343 (Fed. Cir. 2017). On January 11,
On March 11, 2015, Regeneron filed twin                    2018, Merus renewed its motion for attorneys'
patent infringement actions: one against Merus             fees (which this Court had previously stayed
B.V. 2 (“Merus”), a company based in the                   in light of Regeneron’s appeal). (ECF No.
Netherlands, and another against Ablexis                   449.) Regeneron opposed a lift of the stay
LLC (“Ablexis”), accusing both of infringing               because it intended to file an appeal to the
                                                           Supreme Court (and, indeed, it has done so).
 U.S. Patent No. 8,502,018 (“'018 Patent”).
                                                           (ECF No. 453.) Nonetheless, the Court lifted
Merus answered and counterclaimed, arguing
                                                           the stay and directed the parties to confer on
that the     '018 Patent was unenforceable                 a briefing schedule for the motion. (ECF No.
due to Regeneron’s conduct during patent                   455.) That motion—which focused only on
prosecution. Following issuance of this Court’s            whether Merus would be awarded fees, and not
opinion on claim construction, Regeneron                   on the specific amount of such fees—became
stipulated that its infringement claim as to               fully briefed on March 12, 2018. (See ECF No.
Merus must fail if the Court’s constructions               467.)
withstand challenge on appeal. Thereafter,
Ablexis settled with Regeneron prior to claim              Based on Regeneron’s inequitable conduct
construction; all that remained was Merus’s                during patent prosecution and its litigation
counterclaim for inequitable conduct.
                                                           misconduct that spanned over months, 3 this
                                                           Court found that this case qualified as
On June 9-15, 2015, this Court held a bench
trial on that claim. Noting that the litigation            “exceptional” under         Octane Fitness, 134
should never have commenced, this Court                    S. Ct. 1749, and granted Merus’s motion
found that Regeneron engaged in inequitable                for attorneys' fees, expert fees, and costs on
conduct both during patent prosecution and                 March 26, 2018. (ECF No. 468.) It then
continued its misconduct throughout litigation.            directed Merus to file a detailed explanation
“Troubling litigation tactics were on display              of those costs; Merus did so on April 20,
soon after this case was filed and continued into          2018. (See ECF Nos. 471, 472, 473, 474.)
the trial.” Regeneron Pharms., Inc. v. Merus               Regeneron’s opposition, filed on May 9, 2018,
B.V. (Regeneron I), 144 F. Supp. 3d 530, 537               largely focused on an argument that Merus’s
(S.D.N.Y. 2015). These tactics are described in            attorneys charged “well-above average hourly
greater detail in Regeneron I as well as in this           rates” and suffered from “duplication of efforts
Court’s Opinion of March 26, 2018. (ECF Nos.               due to too many timekeepers, block billing,
423, 468.)                                                 and ... top-heav[y] ... staffing.” (ECF No. 476,
                                                           Regeneron’s Resp. in Opp. to Merus’s Mot. &
*2 The Federal Circuit affirmed the Court’s                Documentation for Att'ys' Fees, Expert Fees,
                                                           Expenses & Costs (“Regeneron Opp.”) at 1.)
judgment on July 27, 2017.      Regeneron
                                                           The Court thus directed Regeneron to submit
Pharms., Inc. v. Merus B.V. (Regeneron II),
                                                           its own attorneys' hourly rates and billed hours


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for this case. (ECF No. 479.) Regeneron did so             omitted) ). “[T]he court may enhance the
on May 25, 2018. (ECF No. 483.)                            lodestar only when it ‘fails to take into
                                                           account a relevant consideration,’ ” such as
As an overview, starting in April 2014, Merus’s            the prevailing party’s attorney’s performance
attorneys (“Kirkland”) worked under a fixed                or conduct.    Lumen View Tech. LLC v.
fee agreement that set payment for attorneys'              Findthebest.com, Inc., 811 F.3d 479, 485 (Fed.
fees at $273,214.28 per month. 4 (ECF No.                  Cir. 2016) (quoting       Bywaters, 670 F.3d at
473, Decl. of Patricia A. Carson, Esq. in Supp.            1229).
of Merus' Mot. & Documentation for Att'ys'
Fees, Expert Fees, Expenses & Costs (“Carson                *3 To determine what constitutes a
Decl.”) ¶ 6.) The fee agreement was terminated             “reasonable” hourly rate, courts are to consider
in November 2014 and starting in December                  the “prevailing market rates in the relevant
2014, Merus was billed at Kirkland’s standard
                                                           community.”         Bywaters, 670 F.3d at 1232
hourly billing rates with a 12% discount.
(Id.) The write-offs and write-downs amounted              (quoting Blum v. Stenson, 465 U.S. 886, 895
to $959,372.50 over the course of litigation.              (1984) ); see also Large Audience Display Sys.,
(Carson Decl., Ex. A at 11.) In addition, Merus            660 Fed.Appx. at 972 (“A reasonable hourly
paid Kirkland a flat success fee of $500,000 in            rate should reflect the prevailing market rate.”).
May 2015. (Carson Decl. ¶ 6.)                              The “relevant community,” as defined by the
                                                           Federal Circuit, is generally “based upon ‘the
                                                           prevailing market rate of the forum court ...
   II. LEGAL PRINCIPLES                                    or the prevailing market rate of the geographic
In determining an attorneys' fees award,                   location where the attorney is based.’ ”
courts must use the “lodestar” number—or,                     Bywaters, 670 F.3d at 1233 (quoting Avera
the “number of hours reasonably expended                   v. Sec'y of Health & Human Servs., 515 F.3d
on the litigation multiplied by a reasonable               1343, 1348 (Fed. Cir. 2008) ). Courts should
hourly rate.” Healey v. Leavitt, 485 F.3d 63,              also examine “the attorneys' comparable skill,
71 (2d Cir. 2007); see also Large Audience                 experience, and reputation.” Large Audience
Display Sys., LLC v. Tennman Prods., LLC,                  Display Sys., 660 Fed.Appx. at 972. Whether
660 Fed.Appx. 966, 972 (Fed. Cir. 2016)                    the number of hours used to calculate the
(noting that “typically, attorney’s fee awards             lodestar is “reasonable” is determined by
are calculated using the lodestar method” and              examining, inter alia: (1) whether a case was
requiring the district court to use the lodestar           “overstaffed”; (2) the “skill and experience”
method if the case qualified as “exceptional”);            of the lawyers; and (3) whether any hours
   Bywaters v. United States, 670 F.3d 1221,               were “excessive, redundant, or otherwise
1229 (Fed. Cir. 2012) (noting the “strong                  unnecessary.”    Hensley v. Eckerhart, 461
presumption that the lodestar figure represents            U.S. 424, 434 (1983).
a reasonable attorney fee” (internal quotations


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The Supreme Court has established a “strong                reasonable attorneys' fees to the prevailing
presumption that the lodestar represents the               party.” 35 U.S.C. § 285. Additionally, while the
reasonable fee.” City of Burlington v. Dague,              Patent Act does not include a provision for the
505 U.S. 557, 562 (1992) (internal quotations              award of expert fees or costs, the Court may
omitted). “The presumptively reasonable fee                award these as sanctions. See         MarcTec,
boils down to what a reasonable, paying client             LLC v. Johnson & Johnson, 664 F.3d 907, 921
would be willing to pay, given that such a party           (Fed. Cir. 2012) (“A district court has inherent
wishes ‘to spend the minimum necessary to                  authority ‘to impose sanctions in the form of
litigate the case effectively.’ ” Simmons v.               reasonable expert fees in excess of what is
N.Y.C. Transit Auth., 575 F.3d 170, 174 (2d Cir.           provided for by statute.’ ”) (quoting Takeda
2009) (internal quotations omitted). 5                     Chem. Indus., Ltd. v. Mylan Labs., Inc., 549
                                                           F.3d 1381, 1391 (Fed. Cir. 2008) ). By separate
“[T]he fee applicant bears the burden of                   Opinion & Order, this Court has already
establishing entitlement to an award and                   determined that this case is “exceptional” under
documenting the appropriate hours expended                 the Patent Act and thus eligible for fee-shifting,
                                                           (see ECF No. 468); accordingly, the sole
and hourly rates.” Hensley, 461 U.S. at 437.
                                                           remaining issue is the determination of the
“In order to calculate the reasonable hours
                                                           amount.
expended, the prevailing party’s fee application
must be supported by contemporaneous time
records, affidavits, and other materials.”
   McDonald ex rel. Prendergast v. Pension                                  A. Attorneys' Fees
Plan of the NYSA-ILA Pension Tr. Fund, 450
F.3d 91, 96 (2d Cir. 2006). “[I]n cases in                  *4 Merus requests $8,332,453.46 in attorneys'
which substantial numbers of voluminous fee                fees based on 14,338 hours of recorded time
petitions are filed, the district court has the            by sixty-two timekeepers. (See Carson Decl.,
authority to make across-the-board percentage              Ex. A; Merus Reply at 1 n.1.) Generally,
cuts in hours ‘as a practical means of trimming            the Court finds that the number of hours
                                                           spent and the rates charged by Kirkland were
fat from a fee application.’ ” In re Agent
                                                           both reasonable. This case was time-intensive
Orange Prod. Liab. Litig., 818 F.2d 226, 237
                                                           from the beginning; its complexity was only
(2d Cir. 1987) (quoting      N.Y. State Ass'n              enhanced by Regeneron’s repeated litigation
for Retarded Children, Inc. v. Carey, 711 F.2d             misconduct. Merus required highly skilled
1136, 1146 (2d Cir. 1983) ).                               counsel, especially as a small entity defending
                                                           itself in baseless litigation initiated by a much
                                                           larger entity.
   III. DISCUSSION
Section 285 of the Patent Act provides that
“[t]he court in exceptional cases may award


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Regeneron attacks Merus’s requested sum                    Decl. ¶ 6.) Once that 12% deduction is
by arguing the following: (1) Kirkland’s                   factored in, Kirkland’s rates are within ranges
hourly fees are unreasonable; (2) Kirkland’s               found reasonable in this District, and some
staffing of the case was unreasonably top-                 timekeepers' rates are lower than those in
heavy and unnecessarily duplicative; and (3)               the Valeo Report. Kirkland’s partners charged
Kirkland inappropriately engaged in block                  between $775-$1355 per hour over the course
billing. Rather than attacking specific billing            of the litigation; its overall “blended” partner
entries, Regeneron argues for a 20% reduction              rate in 2015 was $799 an hour, when one
in fees across the board, as permitted by In re            accounts for the 12% discount. This is, of
Agent Orange Product Liability Litigation, 818             course, below the 2015 Valeo Report’s average
F.2d 226. However, the Court is not persuaded              of $886 for a senior partner and $822 for a
that Merus’s requested fees should be reduced.             partner. (Valeo Report at 4.)

Regeneron first argues that Kirkland’s hourly              Moreover, the rates charged by Regeneron’s
fees are unreasonable. They point to several               various law firms are similar to, and in many
junior and senior associates who worked on                 cases lower than, those charged by Kirkland
the case, noting that their hourly rates are               in this litigation. For example, Neal Katyal,
significantly higher than the rates in the Valeo           a partner at Hogan Lovells (Regeneron’s
2018 Intellectual Property Litigation Hourly               appellate counsel), charged between $1,350
Rate Report for the corresponding year. (See               and $1,750 per hour for 589.8 hours. (ECF
ECF No. 473-41 (“Valeo Report”); Regeneron                 No. 483-1, Regeneron’s Resp. to the Court’s
Opp. at 3-4.) They also note that the two                  May 18, 2018 Order, Ex. A (“Regeneron Rate
“primary partners” on the case billed “well                Sheet”) at 3.) Even the lower rate ($1,350)
above normal rates.” (Regeneron Opp. at 5.)                is 48% higher than the highest blended rate
Regeneron relies on its own calculation of                 charged by any individual Kirkland partner
various timekeepers' “blended” hourly rates: as            who spent substantial time on this case ($908
this litigation lasted over several years, specific        per hour).
timekeepers' hourly rates naturally changed,
and thus Regeneron calculated an average                   Aside from this example, though, there are
rate weighted by number of hours. (See ECF                 a number of partners that charged about the
No. 477, Decl. of Josh Calabro in Supp. of                 same rate as Kirkland’s two lead partners on
Regeneron Opp. (“Calabro Decl.”).)                         the case. As noted earlier, Kirkland’s “blended”
                                                           partner rate in 2015 was $799 an hour when
However, Kirkland’s blended rates, as                      one accounts for the 12% discount. Accounting
calculated by Regeneron—which Regeneron                    only for partners who spent one hundred or
argues are unreasonably high—fail to account               more hours on the case, Regeneron’s various
for the 12% deduction across the board                     law firms charged between $463 and $1,750
that Kirkland provided to Merus. (Carson                   an hour for partners: Irell & Manella’s partners


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charged between $975-$1,750 an hour; Foley                 similar rates to defend itself. Simmons, 575
Hoag’s partners charged between $800-$1,050                F.3d at 174 (internal quotations omitted).
an hour; Hogan Lovells’s partners charged
between $1,350-$1,750 an hour (Katyal is                   Regeneron next contends that Kirkland staffed
the only partner who spent more than one                   this case unreasonably—specifically, that the
hundred hours on the case); and Fitzpatrick,               staff was “top heavy.” (Regeneron Opp. at 5.)
Cella, Harper & Scinto’s (“Fitzpatrick, Cella”)            It argues that it was inappropriate that partners
partners charged between $463-$663 an hour. 6              outbilled associates by a ratio of 1.31 to 1.
(Regeneron Rate Sheet.) Clearly, Carson and                First, the Court notes that this ratio is not
Silverman’s blended $799 per hour effective                accurate, as it does not account for Kirkland’s
rate is reasonable when compared with the                  delegation of certain tasks to contract attorneys.
partners at Regeneron’s law firms.                         Additionally, Regeneron does not support its
                                                           argument that any “top-heaviness,” if it existed,
 *5 The same goes for Kirkland’s associate                 was inappropriate. It fails to point to any tasks
rates, which ran between $450-$965 per hour;               that should have been performed by associates
the blended rates for senior associates and                but were performed by partners.
associates in 2015 were $699 and $422-$664,
respectively. While this is higher than the                Moreover, Kirkland staffed the case quite
Valeo Report’s averages, it is in line with the            leanly; Merus sent fewer attorneys to hearings
charges incurred by Regeneron with respect                 and depositions, for example. (See e.g.,
to this litigation. Counting only associates 7             Resetartis Decl., Ex. 2 (B. Jones deposition,
who spent one hundred or more hours on                     one Merus attorney taking, four Regeneron
the case, Irell & Manella’s associates charged             attorneys defending); id., Ex. 3 (S. Stevens
between $475-$920 an hour; Foley Hoag’s                    deposition, one Merus attorney taking, three
associates charged between $410-$565 an hour;              Regeneron attorneys defending); id., Ex. 4 (V.
Hogan Lovells’s associates charged between                 Gregg deposition, one Merus attorney taking,
$620-$690 an hour; and Fitzpatrick, Cella’s                two Regeneron attorneys defending); id., Ex.
associates charged between $264-$480 an hour.              5 (A. Murphy deposition, one Merus attorney
(Regeneron Rate Sheet.) Clearly, Kirkland’s                taking, two Regeneron attorneys defending);
associate rates, like its partner rates, were              id., at Ex. 6, (T. Smeland deposition, two Merus
comparable to those of Regeneron’s various                 attorneys taking, three Regeneron attorneys
law firms. Presuming that Regeneron is a                   defending); ECF No. 52, May 5, 2014 Hr'g
comparable “reasonable, paying client” that                Tr. (two Merus attorneys appearing, four
“wishes to spend the minimum necessary to                  Regeneron attorneys appearing); ECF No.
litigate the case effectively,” the fact that it           92, July 24, 2014 Hr'g Tr. (three Merus
was willing to pay these rates for this litigation         attorneys appearing, four Regeneron attorneys
indicates that Merus was reasonable to pay                 appearing); ECF No. 161, Sept. 12, 2014



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Hr'g Tr. (three Merus attorneys appearing, six             the case—it cannot be the case that Merus
Regeneron attorneys appearing).)                           acted unreasonably in engaging this type of
                                                           staffing while Regeneron did not. And while,
Regeneron also argues that Kirkland’s use                  of course, Regeneron’s seven law firms are not
of sixty-two individual timekeepers, including             a substitute for the market as a whole, they are
twenty-four attorneys, was unreasonable and                a helpful benchmark for what was required in
led to duplication of efforts, especially as               this litigation specifically. 8
fourteen attorneys billed about one hundred
hours or less. (Regeneron Opp. at 6; see also               *6 Regeneron also argues that it is entitled
Carson Decl. at 4-6.) But Regeneron used                   to a 20% reduction in fees because Kirkland
seven law firms and 120 timekeepers, including             engaged in block billing. However, Regeneron
eighty-four attorneys, over the course of this             has not identified any specific entries as too
litigation. (Regeneron Rate Sheet.) Fifty-two              general, and the Court’s review of the records
of Regeneron’s attorneys—more than Merus’s                 finds them to be sufficiently detailed. While
entire team—billed fewer than one hundred                  some entries are redacted to protect privileged
hours on the case. And of course, engaging                 information, there is more than enough in the
seven law firms over the course of a lawsuit               thousands of pages submitted by Merus to
inherently leads to duplication of efforts.                persuade the Court that Kirkland kept detailed
                                                           records that reflect reasonable hours spent
The Court would not purport to suggest
                                                           defending Merus in this litigation. 9
how best attorneys should manage a case
or run a law firm. However, it is not
                                                           All told, the Court is not persuaded that Merus’s
persuaded that Kirkland handled its staffing
                                                           request for attorneys' fees is unreasonable.
unreasonably when Regeneron employed many
                                                           Kirkland staffed this case more leanly than
more attorneys for the exact same litigation.
                                                           Regeneron’s law firms did, and its attorneys
Likewise, if a large number of attorneys who
                                                           charged comparable rates. Accordingly, a 20%
bill a relatively low number of hours indicates
                                                           reduction is not warranted.
that there was duplication of efforts—and the
Court is not persuaded that it does—Regeneron
suffered from the same staffing issue. It is
perhaps the case that some duplication of                                      B. Expert Fees
efforts is inherent in litigation this complex
and prolonged or that this litigation required             Merus also requests $465,390.34 in expert fees.
many discrete tasks that could be completed                The only aspect of this request challenged by
by an attorney not staffed on this case full-              Regeneron is the amount spent on two retired
time. Whatever the reason, both parties in this            judges who consulted with Merus during
case had a significant proportion of attorneys             the appellate phase of litigation. 10 Mock
who spent fewer than one hundred hours on                  appellate arguments are typical exercises,


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especially in complex and substantial litigation           at issue in this case. Indeed, the technology
like this; conducting two such exercises is                at issue here was highly complicated and
reasonable. See Bayer Cropscience AG v. Dow                technical; it is not unreasonable that Merus, a
Agrosciences LLC, No. 12-cv-256, 2015 WL                   Dutch company, needed to translate some of its
5772219, at *5 (D. Del. June 18, 2015) (finding            materials into English to assist its counsel in
that “conducting a mock oral argument and a                defending it in the U.S. courts.
follow-up one to address feedback from the
first argument is entirely reasonable in a case             *7 Regeneron also challenges overhead and
of this complexity” but refusing to award fees             copying costs, including travel fare and
for a third mock argument). In addition, the               copying. 11 Kirkland did not include these costs
Court notes that Merus’s other experts were                in its hourly rates; they are properly charged
vital in its defense, as they were necessary to
                                                           as expenses. See        Mathis v. Spears, 857
expose Regeneron’s misconduct during patent
                                                           F.2d 749, 759 (Fed. Cir. 1988). Additionally,
prosecution. The Court thus awards Merus the
                                                           costs for business-class international travel are
full $465,390.34 in expert fees.
                                                           regularly approved by courts in fee awards.
                                                           Inter-Am. Dev. Bank v. Venti S.A., No. 15-
                                                           cv-4063, 2016 WL 642381, at *9 (S.D.N.Y.
                      C. Costs                             Feb. 17, 2016) (approving costs that included
                                                           first-class and business-class airfare); Norwest
Merus seeks $1,717,100.69 in litigation                    Fin., Inc. v. Fernandez, 121 F. Supp. 2d
expenses and costs. Regeneron argues for a                 258, 263 (S.D.N.Y. 2000) (approving costs for
reduction of 20% and claims that many of                   business-class airfare and “first class” but not
Kirkland’s costs were unreasonable.                        “luxurious” hotels); Ply Gem Indus., Inc. v.
                                                           Argonaut Ins. Co., No. 87-cv-7327, 1988 WL
Regeneron first challenges costs incurred for              132911, at *2 (S.D.N.Y. Dec. 6, 1988) (“Air
legal services related to the litigation in the            fare may be business class or equivalent....”).
United States by non-United States outside                 Regeneron challenges specific flights taken by
counsel, JP Wave. It contends that the foreign             Merus’s counsel, but the Court is persuaded
counsel was not admitted in the United States              that each was necessary in the course of this
and never appeared in this litigation. However,            litigation. Finally, Regeneron argues that Merus
an attorney from JP Wave was present at                    inappropriately included various charges for
hearings and a deposition in this case—this cost           overtime meals and transportation. However,
is properly billed.                                        the examples pointed out by Regeneron all
                                                           appear to be within the normal course of
Regeneron also challenges $18,302 spent                    business; employee meal charges, for example,
translating materials from Dutch to English                were incurred while employees were working
as unrelated to the U.S. proceedings, but this             outside normal business hours.
was necessary for a tutorial on the technology


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Accordingly, the Court awards Merus
$1,717,100.69 in litigation expenses and costs.
                                                                         E. Postjudgment Interest

                                                           Merus also seeks post-judgment interest
             D. Prejudgment Interest                       pursuant to 28 U.S.C. § 1961 and this District’s
                                                           fee schedule issued in accordance with 28
“[A] district court [has] authority, in cases of           U.S.C. 6 1914(b):
bad faith or other exceptional circumstances to
award prejudgment interest on the unliquidated
sum of an award made under Section 285.”                                The post-judgment interest
  Mathis, 857 F.2d at 761 (internal quotation                           rate is the weekly average
omitted). Merus seeks prejudgment interest of                           one-year constant maturity
9%, under N.Y. C.L.P.R. § 5004. Regeneron                               Treasury yield for the
argues that the Court should use the one-                               calendar week preceding the
year Treasury bill (“T-bill”) rate of return                            date of entry of the judgment.
However, 9% is the amount often awarded by                              Effective December 21,
                                                                        2000, the rate of interest that
courts in this District. See, e.g., Gust, Inc.
                                                                        may be added to a judgment,
v. Alphacap Ventures, LLC, No. 15-cv-6192,
                                                                        subject to the provisions of
2017 WL 2875642, at *7 (S.D.N.Y. July 6,
2017); Bumble & Bumble, LLC v. Pro’s Choice                             28 U.S.C. § 1961,        18
Beauty Care, Inc., No. 14-cv-6911, 2016 WL                              U.S.C. § 3612 and 40 U.S.C.
658310, at *12 (S.D.N.Y. Feb. 17, 2016), report                         § 258(e)(1) shall be equal
and recommendation adopted, No. 14-cv-6911,                             to the weekly average 1-year
2016 WL 1717215 (S.D.N.Y. Apr. 27, 2016).                               constant maturity Treasury
It is, in fact, lower than necessary to make                            yield.
Merus whole, as Merus lost capital in defense
of this litigation and its cost of capital to fund
its operations is higher than 9%. (See Resetartis          District     Court    Fee       Schedule      and
Decl., Ex. OO at 6; id., Ex. PP at 5.)                     Related Information, http://nysd.uscourts.gov/
                                                           fees? judgment. Regeneron does not challenge
Accordingly, the Court awards prejudgment                  this request. Accordingly, it is granted in full.
interest of 9% from the date fees, costs, and
expenses were invoiced by Merus’s attorneys,
                                                              IV. CONCLUSION
experts, and vendors.
                                                           For the foregoing reasons, Merus’s motion for
                                                           $8,332,453.46 in attorneys' fees, $465,390.34
                                                           in expert fees, and $1,717,100.69 in litigation



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expenses and costs, along with interest, is                           *8 SO ORDERED.
GRANTED.
                                                                     All Citations
The Clerk of Court is directed to close the open
motion at ECF No. 471.                                               Not Reported in Fed. Supp., 2018 WL 3425013



Footnotes
1    The Court notes that Merus’s original motion requested for $7,905,124.78 in attorneys' fees, $465,390.34 in expert
       fees, and $1,793,366.44 in litigation expenses and costs. However, its reply brief correct these totals due to inadvertent
       inclusions and an inadvertent exclusion of a “catch-up” payment (based on a deferral of payment by Merus in 2014). (ECF
       No. 483, Merus Reply Mem. of Law in Supp. Of Its Mot. & Documentation for Attorneys' Fees, Expert Fees, Expenses,
       and Costs (“Merus Reply”) at 1.)
2      In May 2016, Merus changed its name from Merus B.V. to Merus N.V.; on January 18, 2018, the Court granted Merus’s
       motion to amend the case caption accordingly. (ECF No. 456.)
3      “Throughout litigation, Regeneron, inter alia: (1) failed to abide by this Court’s Individual Rules, even after being instructed
       to do so; (2) failed to produce discovery and withheld evidence; (3) misrepresented facts to the Court and to Merus; and
       (4) used privilege as a sword and a shield. As to the [second] item, Regeneron specifically withheld: (1) non-privileged
       documents; (2) previously privileged documents as to which Regeneron affirmatively waived the privilege and which this
       Court ordered be produced pursuant to its February 25, 2015 Order; and (3) documents on the privilege log relating to
       precisely those topics waived by Regeneron on May 29, 2015 when it filed its trial declarations.” Regeneron Pharms.,

       Inc. v. Merus B.V. (Regeneron III), 14-cv-1650,       2018 WL 1472507 at *13 (S.D.N.Y. Mar. 26, 2018).
4      However, for the initial six months from April 2014 through September 2014, Kirkland agreed to an accommodation period
       that deferred $73,214.28 per month. (Carson Decl. ¶ 6.) As of October 2014, the full fixed fee payment of $273,214.28
       per month was paid by Merus, along with a “catchup” payment of $439,285.68.
5      Merus refers to twelve factors that are to be consulted in determining the reasonableness of a fee award. However, while
       the Supreme Court has mentioned these factors, it was in the context of describing a House of Representatives Report in
       connection with the Civil Rights Attorney’s Fees Awards Act of 1976. That report, as described by the Supreme Court in
       Hensley, cites a Fifth Circuit case from 1974 that outlines twelve factors to be considered when determining the amount of

       a fee award. See     Hensley, 461 U.S. at 429-30 & nn.3-4. These factors are useful, but neither exclusive nor dispositive,
       in guiding the Court’s determination of whether Merus’s requested fees are reasonable.
6      This is a discounted rate; the document does not specify what Fitzpatrick Cella’s attorneys typically charge before a
       discount.
7      The Regeneron Rate Sheet does not distinguish between associates and senior associates.

8      Similarly, Regeneron argues that Kirkland incurred unnecessary expenses by conducting two mock appellate exercises,
       but fails to persuade the Court that these were, in fact, unnecessarily extravagant in some way. Regeneron’s own
       appellate counsel charged similar rates to those of Merus’s counsel during the appellate phase.
9      Even assuming that Kirkland’s records were too general, the mere fact of block billing does not entitle Regeneron to
       a 20% reduction across the board. The cases Regeneron points to suggest this proposition in situations where vague

       entries or other timekeeping problems already existed. See, e.g., Source Vagabond Sys., Ltd. v. Hydrapak, Inc., No.
       11-cv-5379, 2013 WL 136180, at *13 (S.D.N.Y. Jan. 11, 2013), report and recommendation adopted in part, rejected

       in part, No. 11-cv-5379, 2013 WL 634510 (S.D.N.Y. Feb. 21, 2013), aff'd, 753 F.3d 1291 (Fed. Cir. 2014);    Thai-
       Lao Lignite (Thailand) Co. v. Gov't of Lao People’s Democratic Republic, No. 10-cv-05256, 2012 WL 5816878, at *10




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      (S.D.N.Y. Nov. 14, 2012);      Spalluto v. Trump Int'l Hotel & Tower, No. 04-cv-7497, 2008 WL 4525372, at *8 (S.D.N.Y.
      Oct. 2, 2008). That is not the case here.
10    While Regeneron challenges this as an aspect of the attorneys' fees award, it is more properly included as an award
      of expert fees.
11    Regeneron argues that it asked for more detailed accounting of Merus’s payment information, which Merus refused to
      provide. However, Regeneron admits that it is “impractical” to review the voluminous records already submitted by Merus,
      (Regeneron Opp. at 3); Regeneron should not be permitted to ask for additional records to engage in a fishing expedition
      when it has not reviewed the records it already has.


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Valeo 2018 Intellectual Property
 Litigation Hourly Rate Report

                                                  An exclusive report by


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Executive Summary
The Valeo 2018 Intellectual Property Litigation Rate Report analyzes the hourly rates of Attorneys
specializing in Copyright, Patent and Trademark Litigation from over 200 Law Firms. The Report has 6
Sections: 1) Overall Rates by Firm Revenue Groups 2) Overall Rates by Individual Firms 3) Practice Area
(Copyright, Patent and Trademark) Rates by Individual Firms 4) Companies Represented and Overall
Rates Billed by Their Outside Counsel.

IP matters especially Patent litigation, representing two-thirds of all IP litigation, continue to grow annually
and will continue to do so in 2018 by an estimated 5% over 2017 matters. Rates will also increase overall
but with some discounting (10% or more).

A word on Valeo’s research and compilation methodology. Valeo has a Research Team that identifies
hourly rates that are publicly disclosed. About 2,000 hourly rates per week of Attorneys and Support Staff
for over 1,200 Law Firms globally are added to the database. Further research is required to “connect
the dots” by adding detailed Attorney Profile information and linking the legal work performed to specific
Clients and Client Industries. Through this process we are able to provide actionable data to users – Law
Firms and Corporate Counsel - of the Valeo Attorney Hourly Rates and our Analytical Reports, including
this one, to make important monetary decisions in terms of legal services offered and purchased. In terms
of the Report, not all timekeepers will appear in every year so sometimes average rates may vary; in this
case the trend line and averages over the 2012 – 2018 period are the best indicators. In the event that
Valeo has no rates for a given field (Year or Position), an algorithm is used to estimate a rate or rates. In
Sections 5 and 6, Engagement Summaries by Client and Law Firm, respectively, those averages are
Blended (Total Fees divided by Total Hours for all Timekeepers). Valeo considers Senior Partners to be
ones with 25+ years of experience from law school graduation, Partners with 24 years or less experience
and Senior Associates with 5 years or more experience. Of course, those experience levels may vary by
Firm but seem to work for both Large Law Firms and Middle-Market ones.

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AMLAW (1-50)

                           2012       2103            2014                2015                2016           2017        2018e
Overall                                       %                  %                   %                 %            %            %
                           Rate       Rate            Rate                Rate                Rate           Rate         Rate
AMLAW (1-50)
Senior Partner             $811       $834     3%   $857         3%       $886       3%       $994    12% $1,120 13% $1,145 2%
Partner                    $652       $740   13% $761            3%       $822       8%       $925    13% $960      4%   $979   2%
Counsel                    $706       $715     1%   $755         6%       $761       1%       $772      1%   $874 13% $905      3%
Senior Associate           $541       $553     2%   $563         2%       $574       2%       $660    15% $704      7%   $729   3%
Associate                  $445       $454     2%   $466         3%       $483       4%       $542    12% $618 14% $642         4%
Supporting Staff           $284       $293     3%   $308         5%       $322       5%       $332      3%   $348   5%   $359   3%
Overall                    $573       $598     4%   $618         3%       $641       4%       $704    10% $771      9%   $793   3%
                                                                                                                  




                                                       AMLAW (1-50)

                    $1,400
                    $1,200
                    $1,000
                     $800
                     $600
                     $400
                     $200
                       $0
                                  2012         2103          2014            2015              2016        2017     2018e
          Senior Partner          $811         $834          $857            $886              $994        $1,120   $1,145
          Partner                 $652         $740          $761            $822              $925        $960     $979
          Counsel                 $706         $715          $755            $761              $772        $874     $905
          Senior Associate        $541         $553          $563            $574              $660        $704     $729
          Associate               $445         $454          $466            $483              $542        $618     $642
          Supporting Staff        $284         $293          $308            $322              $332        $348     $359




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